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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  HUNTINGTON DIVISION


 GENBIOPRO, INC.,
                       Plaintiff,

                 v.
                                                               Civil Action No.: 3:23-cv-00058
 KRISTINA RAYNES, in her official capacity as                    (Hon. Robert C. Chambers)
 Prosecuting Attorney of Putnam County, AND
 PATRICK MORRISEY, in his official capacity                    NOTICE OF APPEAL
 as Attorney General of West Virginia,
                       Defendants.


       Please take notice that Plaintiff GenBioPro, Inc., hereby appeals to the United States

Court of Appeals for the Fourth Circuit from the Judgment entered in this action on November 6,

2023, Dkt. No. 77, and from the orders incorporated in that Judgment, see Dkt. Nos. 54, 66.




 Dated: November 9, 2023                     Respectfully submitted,
                                             /s/ Anthony J. Majestro
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